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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

Civil Action No. 07-cv-00371-RPM-MEH

CHARLES CALDWELL, and
VICKI CALDWELL,

                Plaintiffs,
v.

FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

      Defendants.
_________________________________________________________________________________

              ORDER GRANTING THE PARK COUNTY DEFENDANTS’
    MOTION TO WITHDRAW MOTION FOR REVIEW OF TAXATION OF COSTS
_________________________________________________________________________________

        Upon consideration of the Park County Defendants’ Motion to Withdraw Motion for Review

of Taxation of Costs [70], filed on March 20, 2009, it is.

        ORDERED that Motion is hereby deemed withdrawn.

        Dated this 24th day of March, 2009.

                                        BY THE COURT:

                                        s/Richard P. Matsch

                                        ___________________________________
                                        Richard P. Matsch, Senior District Judge
